IN THE UNITED STATES DISTRICT COURT Ep,

FOR THE EASTERN DISTRICT OF NORTH CAROLIN‘ON_ PFE ep,
WESTERN DIVISION Pas Rr()
‘A. Moos
NO. 5:14-CR-00128-2H Easter, Dig Court” " SO
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UNITED STATES OF AMERICA

WILLIAM TODD CHAMBERLAIN

ORDER OF FORFEITURE

WHEREAS, pursuant to the entry of a Memorandum of Plea Agreement by the
defendant on January 13, 2020, and the defendant’s guilty plea to offenses in violation
of 18 U.S.C. § 371, and 18 U.S.C. §§ 641 and 2, and all other evidence of record, the
Court finds that the following property is hereby forfeitable pursuant to 18 U.S.C. §
981(a)(1)(C), to wit: $40,000.00, an amount representing proceeds the defendant
obtained directly or indirectly as a result of the said offenses and for which the United
States may forfeit substitute assets;

It is hereby ORDERED, ADJUDGED and DECREED:

1. That pursuant to 18 U.S.C. § 981(a)(1)(C), the defendant shall forfeit
$40,000.00 to the United States as property constituting or derived from proceeds
obtained, directly or indirectly, as a result of the said offenses.

2. That pursuant to Rule 32.2(e) of the Federal Rules of Criminal Procedure,
the United States may move to amend this Order at any time to substitute specific

property to satisfy this Order of Forfeiture in whole or in part.

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3. That any and all forfeited funds shall be deposited by the U.S. Department
of Justice or the U.S. Department of the Treasury, as soon as located or recovered,
into the U.S. Department of Justice’s Assets Forfeiture Fund or the U.S. Department
of the Treasury’s Assets Forfeiture Fund in accordance with 28 U.S.C. § 524(c), 21
U.S.C. § 881(e), and/or 31 U.S.C. § 9705.

4. That upon sentencing and issuance of the Judgment and Commitment
Order, the Clerk of Court is DIRECTED to incorporate a reference to this Order of
Forfeiture in the applicable section of the Judgment, as required by Fed. R. Crim. P.
32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), this Order shall be
final as to the defendant upon entry.

SO ORDERED, this _/’ ay of July 2020.

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MALCOLM J. HOWARD /,
Senior United States Distric Judge

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